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  8

  9                           UNITED STATES DISTRICT COURT
 10                       CENTRAL DISTRICT OF CALIFORNIA
 11

 12 MGA ENTERTAINMENT INC, a                  Case No.
 13 California corporation,                   COMPLAINT FOR:
 14                      Plaintiff,
 15                                           DECLARATORY JUDGMENT
                        vs.
 16                                           (28 U.S.C. § 2201(a))

 17 CLIFFORD “T.I.” HARRIS, an
    individual; TAMKEA “TINY”         DEMAND FOR JURY TRIAL
 18 HARRIS, an individual; OMG GIRLZ

 19 LLC, a Delaware limited liability
    company; and DOES 1-10 inclusive,
 20

 21                      Defendants.
 22

 23         Plaintiff MGA ENTERTAINMENT, INC. (referred to as “Plaintiff” or
 24   “MGA”) for its Complaint herein alleges as follows:
 25                                    INTRODUCTION
 26         1.    This action involves a claim for declaratory judgment pursuant to 28
 27   U.S.C. §§ 2201(a) and 2202, to resolve an actual controversy within this Court’s
 28   jurisdiction. MGA seeks a declaration that both the name and mark “L.O.L. Surprise!
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  1   O.M.G.” and the associated toy products with which it is used, do not infringe upon
  2   the intellectual property rights of Defendants T.I. and Tameka Harris, and OMG Girlz
  3   LLC, and/or their "OMG Girlz" mark.
  4                              JURISDICTION AND VENUE
  5          2.    This Court has federal subject matter jurisdiction pursuant to 28 U.S.C.
  6   §§ 1331 and 1338(a) because it arises under the laws of the United States, specifically
  7   a request for declaratory judgment under 28 U.S.C. §§ 2201(a) and 2202, and that
  8   concern issues of trademark under the Lanham Act, 15 U.S.C. §§ 1051 et seq.
  9          3.    Personal jurisdiction exists over Defendants in this judicial district
 10   because Defendants regularly conduct, transact, and/or solicit business in California
 11   and in this judicial district, and/or derive substantial revenue from business
 12   transactions in California and in this judicial district, and/or otherwise avail
 13   themselves of the privileges and protections of the laws of the State of California such
 14   that this Court's assertion of jurisdiction over Defendants does not offend traditional
 15   notions of fair play and due process, and/or Defendants’ infringing actions caused
 16   injury to Plaintiff in California and in this judicial district such that Defendants should
 17   reasonably expect such actions to have consequences in California and in this judicial
 18   district.
 19          4.    Venue is proper, inter alia, pursuant to 28 U.S.C. § 1391(b)(2) because
 20   Defendants conduct, transact, and/or solicit business in this judicial district.
 21                                           PARTIES
 22          5.    Plaintiff MGA ENTERTAINMENT, INC. (“MGA”) is a California
 23   corporation having an address and principal place of business at 9220 Winnetka Ave,
 24   Chatsworth, CA 91311.
 25          6.    Upon information and belief, Defendants Clifford “T.I.” Harris and
 26   Tameka “Tiny” Harris and their affiliated entities and persons (“the Harris Parties”)
 27   hold intellectual property and related rights to Defendant OMG Girlz LLC. Upon
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  1   information and belief, the Harris Parties regularly conduct, transact, and/or solicit
  2   business in this judicial district.
  3          7.     Upon information and belief, Defendant OMG Girlz LLC is a Delaware
  4   limited liability company that regularly conducts, transacts, and/or solicits business in
  5   this judicial district.
  6          8.     Upon information and belief, Defendants DOES 1 through 10 are
  7   individuals and/or entities whose true names and capacities are presently unknown to
  8   Plaintiff. At such time as said Defendants’ true names and capacities become known
  9   to Plaintiff, Plaintiff will seek leave to amend this Complaint to insert said true names
 10   and capacities of such individuals and/or entities.
 11          9.     Upon information and belief, at all times relevant herein, Defendants,
 12   including Does 1 through 10, inclusive, and each of them, were and still are the partners,
 13   agents, employers, and/or employees of the other named Defendants, and each of them;
 14   that in so doing the things alleged, said Defendants were acting within the course
 15   and scope of said partnership, agency, or employment; and that in so doing the things
 16   alleged, said Defendants were acting at all times with the knowledge, consent, and
 17   authorization of each of the other Defendants.
 18          10.    Upon information and belief, at all times relevant herein, Defendants,
 19   including Does 1 through 10, inclusive, and each of them, are the alter egos of each
 20   other; are characterized by a unity of interest in ownership and control among
 21   themselves such that any individuality and separateness between them have
 22   ceased; are a mere shell instrumentality and conduit through which Defendants
 23   carried on their business by use of each other’s names; completely controlled,
 24   dominated, managed, and operated each other’s business to such an extent that any
 25   individuality or separateness of the Defendants does not and did not exist;
 26   completely failed to observe any corporate formalities; and intermingled the assets of
 27   each other, and other entities affiliated with them, to suit the convenience of
 28   themselves and in order to evade legal obligations and liability.
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  1                                 STATEMENT OF FACTS
  2         11.    MGA is a leading designer, developer, marketer, and distributor of
  3   innovative children’s toys. MGA promotes and/or sells its products throughout the
  4   U.S. and the world through major retailers, quality toy stores, department stores, and
  5   online marketplaces.
  6         12.    One of MGA’s most popular and successful products are its L.O.L.
  7   Surprise! toys and dolls, which were awarded Toy of the Year in the U.S. for 2018,
  8   2019, and 2020, and its line of branded L.O.L. Surprise! products have been the best-
  9   selling toy in the United States since 2017, according to N.P.D. Group, a retail
 10   tracking service. (“L.O.L. Surprise! Products.”)
 11         13.    MGA has federal registrations for the L.O.L. SURPRISE! word mark
 12   (“L.O.L. Surprise! Word Mark”) as well as the L.O.L. SURPRISE! logo mark
 13   (“L.O.L. Surprise! Logo Mark”) for toys and playthings, namely, toy figures and
 14   playsets, accessories, and clothing therefor in Class 28, and are covered by U.S.
 15   Trademark registration numbers 5,374,188 and 5,374,191. MGA also owns the rights
 16   to unregistered rights, including trade dress rights, in the L.O.L. Surprise! Products.
 17   (Collectively, the L.O.L. Surprise! Word Mark, L.O.L. Surprise! Logo Mark and
 18   other associated marks and rights are hereinafter referred to as the “L.O.L. Surprise!
 19   Marks”).
 20         14.    The L.O.L. Surprise! Marks have been in use in commerce, and are
 21   currently in use in commerce, in connection with L.O.L. Surprise! Products
 22   continuously since October 12, 2016.
 23         15.    The L.O.L. Surprise! YouTube channel has over 1.6 million subscribers
 24   and has been viewed over 500 million times.
 25         16.    In July 2019 MGA launched the L.O.L. Surprise! O.M.G. fashion doll
 26   line, which MGA and its fans refer to as the big sister of L.O.L. Surprise! dolls
 27   (“L.O.L. Surprise! O.M.G.”). "L.O.L." is an acronym for Little Outrageous Littles on
 28   the L.O.L. Surprise! products. "O.M.G." is an acronym for Outrageous Millennial
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  1   Girls on the L.O.L. Surprise! O.M.G. products, and is spelled out for clarity in
  2   MGA’s branding and advertising.
  3         17.    L.O.L. Surprise! has won over 60 toy awards just in 2020, including over
  4   a dozen attributable to its to L.O.L. Surprise! O.M.G. line of fashion dolls.
  5         18.    L.O.L. Surprise! O.M.G. was an immediate success and won the Toy
  6   Association’s Fashion Doll of the Year award the same year as its launch.
  7         19.    MGA spent substantial time, money, and effort in building up and
  8   developing consumer recognition, awareness, and goodwill in the L.O.L. Surprise!
  9   Products and L.O.L. Surprise! Marks, including the L.O.L. Surprise! Marks as they
 10   relate to L.O.L. Surprise! O.M.G. (the "L.O.L. Surprise! O.M.G. Marks").
 11         20.    The success of the L.O.L. Surprise! Products, including L.O.L. Surprise!
 12   O.M.G. is due to MGA’s marketing, promotional, and distribution efforts. These
 13   efforts include millions of dollars in advertising and promotion through television.
 14   The L.O.L. Surprise! website, https://lolsurprise.mgae.com/, (the “Website”), retailer
 15   websites, internet-based advertising, print, and other efforts both domestically and
 16   abroad.
 17         21.    MGA’s success is also due to its use of high-quality materials and
 18   processes in making L.O.L. Surprise! Products, including L.O.L. Surprise! O.M.G.
 19   products.
 20         22.    Additionally, MGA owes a substantial amount of success of the L.O.L.
 21   Surprise! Products, including L.O.L. Surprise! O.M.G. products, to its consumers and
 22   word-of-mouth buzz that its consumers have generated.
 23         23.    As a result of MGA’s marketing, promotional, and distribution efforts,
 24   and sales, the quality of L.O.L. Surprise! Products, its promotions, extensive press
 25   and media coverage, and word of mouth-buzz, L.O.L. Surprise! Products and L.O.L.
 26   Surprise! Marks, including its products and Marks related to L.O.L. Surprise!
 27   O.M.G., have become prominently placed in the minds of the public. Members of the
 28   public have become familiar with L.O.L. Surprise! and have come to recognize
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  1   L.O.L. Surprise! Products and L.O.L. Surprise! Marks, including the L.O.L. Surprise!
  2   O.M.G. Marks and products, and associate them exclusively with their source, MGA.
  3   MGA acquired a valuable reputation and goodwill among the public as a result of
  4   such associations.
  5         24.    MGA has gone to great lengths to protect its interests in and to the
  6   L.O.L. Surprise! Marks, including its L.O.L. Surprise! O.M.G. Marks. No one other
  7   than MGA is authorized to manufacture, import, export, advertise, offer for sale, or
  8   sell any goods utilizing L.O.L. Surprise! Marks, including its L.O.L. Surprise!
  9   O.M.G. Marks, without the express written permission of MGA.
 10     DEFENDANT OMG GIRLZ LLC, THE HARRIS PARTIES, AND THEIR
 11                               ACTIONS AGAINST MGA
 12         25.    On or around December 8, 2020, MGA received a cease and desist letter
 13   from a California law firm representing the Harris Parties, informing MGA that the
 14   Harris Parties hold intellectual property and related rights to "OMG Girlz."
 15         26.    Upon information and belief, OMG Girlz are a disbanded American
 16   teenage girl group that peaked at #77 on Billboard's Hot R&B/Hip-Hop Songs chart
 17   in 2012.
 18         27.    In the cease and desist letter, Defendant alleges that “MGA has sold and
 19   advertised toys labelled and styled “OMG” dolls under its “LOL Surprise!” line
 20   which commercially exploit already existing trade dress, name, image and brand
 21   popularity of the “OMG Girlz.” Your “OMG” dolls are plainly derivative of and
 22   intended to profit from the “OMG Girlz” image and brand.”
 23         28.    The cease and desist letter further states that “This willful and malicious
 24   misappropriation subjects you to liability for, without limitation, disgorgement of
 25   profits you obtained from the unlawful sales of these infringing products; lost
 26   business opportunities for the Harris Parties; punitive damages and attorneys’ fees.”
 27         29.    Upon information and belief, OMG Girlz have been disbanded since
 28   March 2015, when they announced that they would no longer be pursuing a career as
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  1   a group on their official Instagram account.
  2         30.    Upon information and belief, USPTO trademark registration number
  3   4374691 for “OMG Girlz” owned by Defendant OMG Girlz LLC in classes 9 and 41
  4   was cancelled on March 6, 2020.
  5         31.    Upon information and belief, USPTO trademark registrations for any
  6   other "OMG Girlz" trademarks owned by Defendants have been abandoned.
  7         32.    Upon information and belief, The OMG Girlz acronym stands for
  8   “Officially Miss Guided,” which is a separate and different acronym than that used by
  9   MGA.
 10        THERE IS NO LIKELIHOOD OF CONFUSION BETWEEN "L.O.L.
 11                      SURPRISE! O.M.G." AND "OMG GIRLZ"
 12         33.    No reasonable consumer would mistake an L.O.L. Surprise! O.M.G.
 13   fashion doll as a derivative work of the OMG Girlz group and its cancelled and/or
 14   abandoned "OMG Girlz" trademarks.
 15         34.    L.O.L. Surprise! O.M.G. fashion dolls and products are marketed and
 16   advertised as the “big sister” of MGA’s L.O.L. Surprise! dolls, and are marketed and
 17   sold under the L.O.L. Surprise! Mark. L.O.L Surprise! O.M.G. fashion dolls are a
 18   derivative product line of the L.O.L. Surprise! doll line and themes, and have never
 19   been associated or intended to be associated with the OMG Girlz music group.
 20         35.    L.O.L. Surprise! O.M.G. fashion dolls and products are aggressively
 21   branded with the L.O.L. Surprise! Marks as a source identifier, and contain many
 22   distinguishing design elements that, upon information and belief, are not claimed by
 23   Defendants as a trademark in their OMG Girlz mark.
 24         36.    Plaintiff’s L.O.L. Surprise! Marks are registered in class 28 for toys and
 25   playthings, namely, toy figures and playsets, accessories, and clothing.
 26         37.    Upon information and belief, Defendants' cancelled mark was registered
 27   in classes 9 and 41, for musical sound recordings, musical audiovisual recordings;
 28   pre−recorded compact discs and dvds featuring musical entertainment; and
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  1   entertainment services.
  2         38.    L.O.L. Surprise! O.M.G. fashion dolls and products are sold alongside
  3   dozens of other L.O.L. Surprise! branded toys and products that do not reference the
  4   acronym “O.M.G.” In many brick and mortar retailers such as Target and Walmart,
  5   L.O.L. Surprise! has a designated section in the toy aisle featuring its many successful
  6   L.O.L. Surprise! branded toys and products.
  7         39.    The market for MGA’s L.O.L. Surprise! Products is children ages 3-12.
  8         40.    Upon information and belief, the relevant market for the OMG Girlz
  9   music are teens and young women.
 10         41.    The acronyms for L.O.L. Surprise O.M.G. and the acronym for OMG
 11   Girlz stand for different meanings.
 12         42.    Upon information and belief, the acronym “OMG” and variations thereof
 13   are the subject of dozens of USPTO trademark registrations.
 14         43.    Upon information and belief, Defendants do not sell toys and dolls in the
 15   toy section of mass market retailers like Target and Walmart, nor do they sell toys and
 16   dolls online or in-store through such mass market retailers.
 17         44.    The L.O.L. Surprise! Marks, including the L.O.L. Surprise! O.M.G.
 18   Marks, and L.O.L. Surprise! O.M.G. fashion dolls and products, on the one hand, and
 19   the OMG Girlz Mark and music, on the other hand, are not used for similar goods and
 20   services or in the same classes, but for different goods and services in different
 21   classes.
 22         45.    The L.O.L. Surprise! Marks, including the L.O.L. Surprise! O.M.G.
 23   Marks, and L.O.L. Surprise! O.M.G. fashion dolls and products, on the one hand, and
 24   the OMG Girlz Mark and music, on the other hand, are not intended to serve similar
 25   functions or similar uses, but rather serve different functions and/or different uses.
 26         46.    The L.O.L. Surprise! Marks, including the L.O.L. Surprise! O.M.G.
 27   Marks, and L.O.L. Surprise! O.M.G. fashion dolls and products, on the one hand, and
 28   the OMG Girlz Mark and music, on the other hand, are not marketed, sold, and
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  1   distributed in similar streams of commerce, but rather are marketed, sold, and
  2   distributed through different channels of trade.
  3         47.    Based on the foregoing, there is no likelihood of confusion that the OMG
  4   Girlz sponsored or are associated with L.O.L. Surprise! Marks, including the L.O.L.
  5   Surprise! O.M.G. Marks, and L.O.L. Surprise! O.M.G. fashion dolls and products.
  6                                FIRST CAUSE OF ACTION
  7                                    Declaratory Judgment
  8                                     (28 U.S.C. § 2201(a))
  9         48.    Plaintiff repleads and incorporates by reference each and every allegation
 10   set forth in the preceding paragraphs as if fully set forth herein.
 11         49.    Defendants are the purported owner of the OMG Girlz mark.
 12         50.    Defendants have claimed that Plaintiff’s L.O.L. Surprise! O.M.G. Marks
 13   and fashion dolls commercially exploit the trade dress, name, image and brand
 14   popularity of the OMG Girlz, and are derivative and intended to profit from the OMG
 15   Girlz image and brand.
 16         51.    MGA denies that L.O.L. Surprise! O.M.G. Marks and fashion dolls
 17   infringe upon the OMG Girlz mark.
 18         52.    An actual, present, and judiciable controversy has arisen between
 19   Plaintiff and Defendants concerning the rights in their respective marks.
 20         53.    Defendants’ claims of infringement have affected MGA’s rights in the
 21   L.O.L. Surprise! O.M.G. Marks and L.O.L. Surprise! O.M.G. fashion dolls and
 22   products vis-à-vis its domestic and foreign customers, and therefore affects the
 23   interstate and foreign commerce of the United States.
 24         54.    MGA seeks a declaration of its rights pursuant to 28 U.S.C. §§ 2201(a)
 25   and 2202 that the L.O.L. Surprise! O.M.G. Marks, and L.O.L. Surprise! O.M.G.
 26   fashion dolls and products are non-infringing of the OMG Girlz Marks.
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  1                                PRAYER FOR RELIEF
  2           WHEREFORE, MGA prays for judgment as follows:
  3           a. Pursuant to 28 U.S.C. §§ 2201(a) and 2202, a declaration that MGA’s
  4              L.O.L. Surprise! O.M.G. Marks and L.O.L. Surprise! O.M.G. fashion
  5              dolls and products do not infringe the OMG Girlz mark, and do not cause
  6              a likelihood that consumers will be confused as to the source or
  7              sponsorship of MGA’s L.O.L. Surprise! O.M.G. Marks and/or L.O.L.
  8              Surprise! O.M.G. fashion dolls and products;
  9           b. Pursuant to 28 U.S.C. §§ 2201(a) and 2202, a declaration that MGA may
 10              continue to market and distribute its L.O.L. Surprise! O.M.G. fashion
 11              dolls and products, and may continue to use the L.O.L. Surprise! O.M.G.
 12              Marks in association with the L.O.L. Surprise! O.M.G. fashion dolls and
 13              products;
 14           c. For MGA’s reasonable attorneys’ fees;
 15           d. For all costs of suit; and
 16           e. For such other and further relief as the Court may deem necessary and
 17              proper.
 18

 19   DEMAND FOR JURY TRIAL
 20

 21   DATED: December 22, 2020
                                              MGA ENTERTAINMENT, INC.
 22

 23
                                              By: /s/ Benjamin C. Johnson
 24
                                                  BENJAMIN C. JOHNSON
 25                                               Attorney for Plaintiffs
                                                  MGA Entertainment, Inc.
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